       Case 5:07-cr-00767-RMW Document 9 Filed 10/30/08 Page 1 of 2



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 8                           IN THE UNITED STATES DISTRICT COURT

 9                        FOR THE NORTHERN DISTRICT OF CALIFORNIA

10                                         SAN JOSE DIVISION

11
     UNITED STATES OF AMERICA,             )              No. CR 07-00767 RMW
12                                         )
                       Plaintiff,          )              DEFENDANT ROJAS’ SENTENCING
13                                         )              MEMORANDUM
     v.                                    )
14                                         )              Date: November 3, 2008
     ANTONIO ENRIQUE ROJAS,                )              Time: 9:00 a.m.
15                                         )              Honorable Ronald M. Whyte / Jeremy Fogel
                       Defendant.          )
16   _____________________________________ )

17          Defendant Antonio Enrique Rojas is charged with three violations of supervised release.

18   The violations include a new misdemeanor conviction, and two violations of conditions relating

19   to reporting obligations, all of which are Grade A. The defense has been advised by the

20   Probation Office that he is in Criminal History Category I, with a guideline range of 3 to 9

21   months. At the parties’ next appearance, he is prepared to admit to one or more of the violations,

22   and proceed with sentencing at that time. The Probation Office has recommended a term of

23   imprisonment of 3 months, with no supervised release to follow.

24          Since Mr. Rojas has already served approximately one month in the county jail, he

25   respectfully requests that the Court impose the remainder of that term in a form of community

26   confinement, such as house arrest or halfway house placement. He has been on supervised

     DEFENDANT’S SENTENCING
     MEMORANDUM
     No. C R 0 7-0 07 67 RM W                         1
       Case 5:07-cr-00767-RMW Document 9 Filed 10/30/08 Page 2 of 2



 1   release since December 28, 2006, and his supervision would have expired this December, but for

 2   these violations. Until his arrest on the misdemeanor offense, he was working at Clean

 3   Innovation, a janitorial service in Santa Clara. He is married, and although he was separated

 4   from his wife at the time of the alleged violations, they have reconciled. His wife, Selena Rocha,

 5   depends on Mr. Rojas’ income, and has received an eviction notice, which is attached hereto as

 6   Exhibit A.

 7          According to the probation officer, Mr. Rojas was convicted in state court of a

 8   misdemeanor violation of Cal. Penal Code § 422. The defense is informed that Mr. Rojas

 9   received a sentence of 13 days in jail, 20 hours of volunteer work, and an obligation to attend a

10   domestic violence class. His other alleged violations include changing residence without

11   reporting his new address, and failing to submit a monthly report for the month of August.

12          Pursuant to the sentencing factors applicable in supervised release actions, as set forth in

13   18 U.S.C. § 3583, this Court has the authority to impose any reasonable sentence, including a

14   sentence of home detention or halfway house placement. At this point, Mr. Rojas has been in

15   federal custody since approximately October 9, 2008. In view of the fact that Mr. Rojas had no

16   other reported violations during the nearly two years that he had been on supervised release, the

17   defense respectfully requests that the Court impose a sentence of time served, with conditions of

18   supervised release to include two months electronic monitoring or halfway house placement.

19

20   Dated: October 30, 2008

21                                                        Respectfully submitted,

22                                                        BARRY J. PORTMAN
                                                          Federal Public Defender
23
                                                                  /s/
24
                                                          LARA S. VINNARD
25                                                        Assistant Federal Public Defender

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     DEFENDANT’S SENTENCING
     MEMORANDUM
     No. C R 0 7-0 07 67 RM W                         2
